IN RE:

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA
FORT WAYNE DIVISION

CASE NO, 15-12711

KENNETH EDWARD GRAHAM

Debtor

CHAPTER 13

 

TRUSTEE’S MOTION TO DISMISS

 

COMES NOW, the Trustee, Debra L. Miller, and for her Motion to Dismiss, states:

1,

2.

This case was filed on November 24, 2015 and Confirmed on May 25, 2016.

Pursuant to the terms of the Confirmed Plan, Debtor is to make payments of $839.38 each
month, for 60 months, and turn over tax refunds over $1,000.00 each year of the Plan term.
Pursuant to the terms of an Agreed Order, approved on October 16, 2018, the Plan
payment increased to $1,564.09, beginning September 2018.

Debtor is paying direct through the TFS system but Trustee has not received a payment
since March 1, 2019.

Payments are $5,447.68 delinquent with the next payment due July 24, 2019.

Trustee has not yet received a copy of Debtor’s 2018 tax returns to determine if any
refunds are owed to the Estate.

Failure to keep current on Plan payments and turn over tax return copies and any refunds
owed is a material default on the terms of the Confirmed Plan, pursuant to 11 U.S.C.

§1307(c)(6).

WHEREFORE, the Trustee moves, for the reasons stated above, that the bankruptcy be dismissed

pursuant to 11 U.S.C. §1307(c)(6), and any other statute the Court deems appropriate.
$5-12711 Graham
Motion to Dismiss

 
 
 

Dated: July 10, 2019 Respectfully Submitted, |

/s/Debra L. Miller, Trustee
Debra L. Miller, Chapter 13 Trustee
PO Box 11550

South Bend, IN 46634

(574) 254-1313

 

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the attached was sent on July 10, 2019

By U.S. Mail as follows:
Debtor: Kenneth Graham, 5031 Charlotte Ave, Fort Wayne, IN 46815

By electronic e-mail via CM/ECF
Debtor’s Attorney: Pro Se
U.S. Trustee: ustpregion!0.so@ect@usdoj. gov

 

/s/ Debra L. Miller
